     Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 1 of 7 Page ID #:75

Name and address:

                   Jean P. Nogues (SBN 84445)
                 Milchcll Silberberg & Knupp LLP
                2019 Century Park East. 18th Floor
                      Los Angeles, CA 90067                                                                                                     •
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNL\

Benjamin Kaner, individually and on behalf of all others similarly ·       CASE NUM111\R
situated
                                                          Plaintiff{s),
                                                                                                    8:20-cv-01385-CJC-KES
                  v.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                    'fO APPEAR IN A SPECIFIC CASE
Epio Systems, Inc.                                                                                   PROHACVICE
                                                        Dcfcndant(s),

INSTRUCTIONS FOR APPUCANTS
( I) The aHomty seeking to appear pro 1,ac vice must compkte Section I of this Applieation, persom,lly sign. in ink, the certification in
     Section II, a•d have the designated Local Counsel sign in 5,dion 111. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Spau to
     supplement responses is provided in s«t,on TV. The applicant mwt also attach a Cutificatt of Good Standing (issiuid within rh, last 30
     days) from every state bar to which he or sht is admirt,d; failure to do so will be grounds for denying Ult Applicario11. Scan the           1
     compltt<tl Appliwtion with its original ink signatun, together with any arra,hment(s), 10 a single Portable Document Format ( PV/ )/ilt.
(2) Have the designated Local Couosel file the Application electronically 11sing the Court's electronic filing system ('Motions and Rt lated
     Filings=> Applications/Ex Parte Applications/Motions/P<lilions/Requests => Appear Pro / lac V/c,, (G 64)"). attach a Propoffll Order
     (usi11g Form C-64 ORD/iR, avai/ablt from tlit Court's websitt). and pay the requirtd $400 f« 011/ine at tht timt offlli11g (r,sing a credit
     card). ·n,e fr.c ls required for each case in which tht applicallt fllt1 an Application. Failun, to pay the fee at tht time offiling will bt
     grounds for denying tht Appli.ation. Out-ofstatt federal government attorneys are not rtquired to pay tht $400 fu. (Certain                    •
     attorneys for the Unircd Start, are also ,xempt from the requirement of applying for pro hac vice statw. Su L.R. 83-2.1.4.) A copy of tht
      G-64 ORIJER in Word or WordPerf« l fonnat must bt ,mailed to rile generic duunbm email address. L.R. 5·4.4.2.
SECJJON I - INFORMATIO.l!!
 Buchanan, Michael f.
                                                                                                      chtd: hue iffede ral govtmmenl attomey D
 Applicant's Nam• (l.a,t Namt, Nrst Natt1e & Mlddlt lnitial)
 Patterson Belknav Webb & Tyler LLP
 Fjrm/Age11cy Name
                                                                          (212) 336-2000                            (212)336 2222
  1133 Avenue of the Americas
                                                                          Telephone Number                          Fax Numbtr

 Street Addrt1s
 New York NY 10036                                                                                 mlbuchanan@pbwt.com
                                                                                                       E-mail Address
 City, Stat<. Zip Code
 [ have been retained Lo represent the following parties:

  Epig Systems, Inc.
                                                                          0   Plaintifj[s) [iJ Defn,dant(s)     0   Otha:
                                                                                                                            --------
                                                                          0   Plaintiff(,)   0   Defendant(,)   0   Other: - - - - - - --
  Name(s) ofParty(ies) Represented
 list all state and federal courts (including appellate courts) 10 which the applicant has b<,n admitted, and provide the currenl status of bis or
 her membership. U,c Section IV if more room is needed. nr to provide additional information.

                       Name qfC.ourt                        Date o(Admission            Acllve Member in Good Standingr «fnoti please explain)
  New York                                                     6/14/1993               Yes,~ - - - - - - --
  New Jersey                                                    !1/31/1995             Yrs

  District of Ne"'wc.,lcse!irses
                              ·e.,:y_ __ _ _ _ __               4/1/2008               Ye.,,s____ _ _ _ _               - - - - - - - --

 G-64 (02/20)
                              APPUCA.110N OP NON.RfiSLOe..,'T /lTrOR1''lW TO APPEAR IS A $P£C1FIC CA$£ PRO HAC VICE
       Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 2 of 7 Page ID #:76

 List all case-s in which the applica.rH has applied to th.is Coun for pro hac vice status in the previous three years (continue in Section rv if
 needed):
         Case Number                                       Title ofActio,i                            Dute ofA pvlication      Granted / lJeniedr
  2:l 7-cv-5247-) FW-J EM         Arrow Electronics, Inc. v. Aetna Casualty & Suretv               12/4/2019                 Gmnted




 If any pro hac vice applications submitted within the past th rc-.: (3) years have been denied by the Court, please explain :




 Attorneys must be registered fo r the Court's elec/ronic filing system to practice pro hac vice in this Court. Submission
 of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
 granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
 privileges in the Central District of California.

               SECTION II - CERTIFICATION

               I declare under penalty of perjury that:

           (I ) All of the a bove information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, o r engaged in
                substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section l1J below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct busine.ss, as local counsel
               pufsuant to Local Rule 83-2.1.3.4.




G-64 (02/20)                APPL!CATION Of N0 N-R£SJDENT A1TOl\NEr TO APPEAR IN A SPECmCCASR PRO ttAC VICE                             Page 2 t>f J
          Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 3 of 7 Page ID #:77
sEcTroN IIr - pESTGNATTON OF tOCAr COUNSET
Nogues, Jean P.
Designee's Name (Last Name, First Name   6 Middle Initial)
Mitchell Silberbers & Knupp LLP
Firm/Agency Name

 2049 Century Park East, 18th Floor                                (lr0)   3   L2-31s2                              (: r0) 23 L-83s2
                                                                   Telephone Number                                 Fax Number

Street Address                                                     ipn@msk.com
                                                                  Email Address
Los Angeles, CA 9A067
City, State, Zip Code                                              84445
                                                                  Designee's Califurnia State Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated      Wl   plz"                                Iean P. Nogues
                                                                  Dgsjrye;-$ame          (please type or   print)


                                                                               's   Signature   L
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  List all state and federal courts (including appellate courts) to which the applicant has been adrriitted, and provide the
  current status of his or her membership. Use Section IV if more room is needed, or to provide additional information

  Southern District of NewYork - ll24ll995 - Active Member in Good Standing
  Eastern District of New York - ll3lll995 - Active Member in Good Standing
  Third Circuit Court of Appeals - 612212009 - Active Member in Good Stan&ng
  Federal Circuit Court of Appeals - 2l3l20l0 - Active Member in Good Standing
  U.S. Supreme Court - U7l20l3 - Active Member in Good Standing
  Second Circuit Court of Appeals - Il29l20l5 - Active Member in Good Standing
  Ninth Circuit Court of Appeals - 612S120lS - Active Member in Good Standing
  District of Colorado - ll7l2o20 - Active Member in Good Standing




G-64 (o2l2o)             APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO IIAC YICE                               Page 3 of 3
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                 Appellate Division of the Supreme Court
                      of the State of New York
                      First Judicial Department

            I, Susanna Rojas, Clerk of the Appellate Division of
the Supreme Court of the State of New York, First Judicial
Department, certify that

         Michael Francis Buchanan
was duly licensed and admitted to practice as an Attorney and
Counsellor at Law in all the courts of the State of New York on
June 14, 1993, has duly taken and subscribed the oath of office
prescribed by law, has been enrolled in the Roll of Attorneys and
Counsellors at Law on file in my office, has duly registered with the
administrative office of the courts, and according to the records of
this court is in good standing as an attorney and counsellor at law.


                       In Witness Thereof, I have hereunto set my
                         hand and affixed the seal of this court on
                                     July 31, 2020




                                        Clerk of the Court
5296
     Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 5 of 7 Page ID #:79



 1
     JEAN PIERRE NOGUES (SBN 84445)
 2   E-Mail: jpn@msk.com
     Mitchell Silberberg & Knupp LLP
 3   2049 Century Park East, 18th Floor
     Los Angeles, CA 90067-3120
 4   Telephone: (310)312-2000
     Facsimile: (310)312-3100
 5
 6   MICHAEL F. BUCHANAN (Pro Hae Vice application pending)
     E-Mail: mfbuchanan@pbwt.com
 7   PETER A. NELSON (Pro Hae Vice application pending)
     E-Mail: pnelson@pbwt.com
 8
     KADE N. OLSEN (Pro Hae Vice application pending)
 9   E-Mail: kolsen@pbwt.com
     CHRlSTOPHER WILDS (Pro Hae Vice application pending)
10   E-Mail: cwilds@pbwt.com

11   PATTERSON BELKNAP WEBB & TYLER LLP
12
     1133 Avenue of the Americas
     New York, NY 10036-6710
13   Telephone: (212)336-2000
     Facsimile: (212) 336-2222
14
     Attorneys for Defendant
15   Epiq Systems, Inc.
(6
                            UNITED STATES DISTRICT COURT
17
            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
18
19   BENJAMIN KARTER, individually and               CASE NO. 8:20-cv-01385-CJC-KES
     on behalf of others similarly situated
20                                                   DECLARATION OF MICHAEL F
                          Plaintiff,                 BUCHANAN IN SUPPORT OF
21   V.                                              APPLICATION TO APPEAR PR
22                                                   HACVICE
     EPIQ SYSTEMS, INC.,
23
                          Defendant.
24
25
26            I, Michael F. Buchanan, declare and state as follows:
27

28        DECLARATION OF MICHAEL F. BUCHANAN IN SUPPORT OF APPLICATION TO APPEAR PRO HAC
                                               VICE
                                                1
     Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 6 of 7 Page ID #:80



            1.    I am a partner at Patterson Belknap Webb & Tyler LLP ("Patterson
 2   Belknap") for Defendant Epiq Systems, Inc. ("Epiq"), in the above-captioned case.
 3         2.     I am an attorney in good standing, admitted to practice before the bar
 4   of the state of New York and the bar of the state of New Jersey.
 5         3.     My pro hac vice application is being submitted simultaneously with
 6   this declaration.
 7         4.     L.R. 83-2.1.3.3 (d) requires that an attorney seeking admission pro
 8   hac vice submit a Certificate of Good Standing from each state bar in which the
 9   applicant is a member, issued within thirty (30) days. A Certificate of Good
10   Standing from the state of New York is being submitted with this application.
11         5.     The Coronavirus (COVID· 19) Guidance provided by the Central
12   District of California provides that attorneys seeking admission pro hac vice may
13   submit a declaration that the comt responsible for issuing their certificate of good
14   standing is closed or is not issuing certificates of good standing due to COVID-19.
15         6.     I was admitted to the bar of the State of New Jersey. As a result, the
16   Supreme Court of the State of New Jersey is the court that is responsible for
17   issuing my Certificate of Good Standing.
18         7.     On July 31, 2020, I submitted a request for a Certificate of Good
19   Standing to the Supreme Court of the State ofNew Jersey.
20         8.     The form to be used when requesting a Certificate of Good Standing
21   in New Jersey states that requests for Certificates of Good Standing are generally
22   processed within three to five business days. This estimated time for processing
23   requests does not include any delays attributable to the COVID-19 pandemic.
24         9.     The Supreme Cowt of the State of New Jersey does not provide
25   electronic versions of certificates of good standing. Therefore, once processed, the
26   certificate will be returned to me by regular mail or FedEx.
27

28     DECLARATlON OF MICHAEL F. BUCHANAN IN SUPPORT OF APPLJCATION TO APPEAR PRO HAC
                                              VICE
                                                2
     Case 8:20-cv-01385-CJC-KES Document 21 Filed 08/06/20 Page 7 of 7 Page ID #:81



           10.    As a result, it is not clear whether the Supreme Court of the State of
 2   New Jersey currently is able to issue a Certificate of Good Standing in a timely
 3   manner.
 4         11.    As soon as a Certificate of Good Standing is issued, I will file that
 5   certificate with the Court in further support of my pro hac vice application.
 6         I declare under penalty of perjury that the foregoing is true and con-ect.
 7   Executed on August 5, 2020 at New York, New York
 8
 9
                                                                                     -
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27

28     DECLARATION OF MICHAEL F. BUCHANAN IN SUPPORT OF APPLICATION TO APPEAR PRO HAC
                                            VJCE
                                             3
